Case 3:12-cr-00003-DHB-BKE Document 810 Filed 11/19/14 Page 1 of 1


                                                                                                                                                                         FILED
                                          IN THE T'NITED STATES DISTRICT COURT FOR                                                                u*,ltsi.[;9:
                                                                                                                                                            rii$uRr
                                                  SOUTIIERN DTSTRTCT OF GEORGIA
                                                         DT'BTIN DIVI SION
                                                                                                                                                     NOlI I
                                                                                                                                                  20i11
UNITED STATES OF AMERICA
                                                                                                                                            i\l   i


                     VS,
                                                                                               *            ,^D    ?1'_nn?                                                           O FG A ,

ANTONIO SMILEY




                                                                                       ORDER


                     Defendant has filed                                         a motion for                     reduction           of sentence under
-Q              I c             .         s        TE,a?/^\ /?l
                                                                                 .n    fha          h:sis         l-hal      Amendment                            782          to          the

United                          Scares Sentenc.Lng Guide-Lines has revised                                                                    the                 guidelines

: n r - l i rr -r !:al !^f ls         c       -n     d t t nu Y    'ra'f         ).ki-.t           oFfenses-                tr',6-     -h11-^F                        Aran,lngnl
oPP                                           Lv     s,




782 became effective                                                    on November l,                            2414, no defendant                                           may oe

released                                  on         the          basis           of        the          retroactive                  amendment before

November 7,20L5.                                                  See U.S,S.G. Amend. 788.                                     Thus, the Court wi] l
                          -r'-            ^        -^-'r ^"        ^f      r:ascs           r rvol     rri *o      drr-o      rraffir-kino                               offenggg


in due course.                                            If      Defendant is                      entitled            to a sentence reduction

as             a            result                   of           amendments to                        the        United             States                       Sentencing

r:rrrdalinac                                       -ha       c.r'rt          will           make         Such       a       re.]I].-f ion'                    s
                                                                                                                                                              -us    a       s n , . n +L c ^.
                                                                                                                                                                             -yvlr




Accordingly/                                        Defendant's                   motion              (doc. no.             806) is               DEFE

                     ORDER                        ENTERED               aL        Augusra,                Georgia,               this                   /7

November,                                 2014.




                                                                                                            UNITED STA                 S D I S T R T C TJ U D G


                     I              The Cferk                      rs      drrected                 to      termlnate                the          motion                       for
^n-           i^      i-l           r-l       i                                   Al   <n          nofond:nr,           c    m^i-i    anc             Ie vn
                                                         vull]u-ur                                                                                                oa P
                                                                                                                                                                     ^ -P^vi n t ' , , L

r-nrrnqol                           ld-tr            n.c           RO2       t    qn?l        :rp        troral^r,        DENIED.
